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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

PIERSON VALLES,                                §
                       Plaintiff,              §
                                               §
v.                                             §       CAUSE NO. 4:22-cv-00568
                                               §
ACT, INC.,                                     §
                       Defendant.              §

     ORDER GRANTING PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING
                  ORDER AND PRELIMINARY INJUNCTION

        On this day came on to be considered Plaintiff’s Motion for Temporary Restraining

Order and Preliminary Injunction (the “Motion”). After full consideration of any arguments and

evidence presented by counsel, this Court finds that the Motion is meritorious with respect to its

request for a Temporary Restraining Order and should be granted in that respect. In particular,

the Court finds that Plaintiff has a substantial likelihood of prevailing on his claims, that the

balance of harms favors granting a Temporary Restraining Order, and that the public will not be

disserved by the grant of a Temporary Restraining Order. The Court also finds that Plaintiff

faces the prospect of irreparable harm in the absence of a grant of a Temporary Restraining

Order not merely because of the substantial likelihood of Defendant’s continuing violation of the

applicable federal civil rights statutes, but also because he will lack fair and equal opportunity to

demonstrate his aptitude as part of the application process to the colleges and universities of his

choice. Therefore, the Motion is GRANTED with respect to its request for a Temporary

Restraining Order. This Court will set the matter for a preliminary injunction hearing as

appropriate.

        Accordingly, it is ORDERED, ADJUDGED, and DECREED that Plaintiff’s Motion for

Temporary Restraining Order and Preliminary Injunction is hereby GRANTED with respect to

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its request for a Temporary Restraining Order. It is further ordered that Defendant ACT, Inc.

(“ACT”) and any and all of ACT’s officers, agents, servants, employees, and attorneys, and any

and all persons in active concert or participation with them, are hereby enjoined until further

order of this Court from wrongfully continuing to deny Plaintiff the reasonable accommodations

he seeks in the form of preferential seating and an increase in the testing time allotted by a factor

of fifty percent (time and one half).




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